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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




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                                        :
         UNITED STATES OF AMERICA       :
                                        :
                                        :
              -vs-                      :               Case No. 1:12-cr-3
                                        :
                                        :
         KIM DOTCOM, et al.,            :
                        Defendants.     :
                                        :
         -------------------------------:




                                      HEARING ON MOTIONS



                                        April 13, 2012



                               Before:     Liam O'Grady, Judge




                                                 Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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         APPEARANCES:



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         Counsel for Defendant Megaupload


         Marc J. Zwillinger, Robert Huff, Jr. and Christopher L. Harlow,
         Counsel for Carpathia


         Julie P. Samuels and John S. Davis, V,
         Counsel for Kyle Goodwin


         W. Clifton Holmes, Counsel for Valcom and Microhits


         Paul M. Smith and Julie M. Carpenter, Counsel for MPAA




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    1                 THE CLERK:     Criminal case number 1:12-cr-3, the

    2    United States of America versus Kim Dotcom, et al.

    3                 Counsel please identify themselves for the record.

    4                 MR. PRABHU:     Good morning, Your Honor.              Jay Prabhu,

    5    Lindsay Kelly and Glenn Alexander for the Government.

    6                 THE COURT:     All right, good morning.

    7                 MR. BRINKMAN:      Good morning, Your Honor.              Paul

    8    Brinkman and William Burck from Quinn Emanuel Urquhart &

    9    Sullivan, and Ira Rothken from The Rothken Law Firm.

   10                 THE COURT:     All right.     Good morning to each of you.

   11                 MR. ZWILLINGER:      Good morning, Your Honor.                 Marc

   12    Zwillinger and Bart Huff from ZwillGen on behalf of Carpathia,

   13    with local counsel Chris Harlow from SNR Denton.

   14                 THE COURT:     All right, good morning.

   15                 MS. SAMUELS:     Good morning, Your Honor.              Julie

   16    Samuels from the Electronic Frontier Foundation here with John

   17    Davis on behalf of Kyle Goodwin.

   18                 THE COURT:     All right.     Good morning, ma'am.

   19                 MR. DAVIS:     Good morning.

   20                 THE COURT:     Good morning.

   21                 MR. HOLMES:     Good morning, Your Honor.              Cliff Holmes

   22    of Dunlap, Grubb & Weaver on behalf of nonparties Valcom,

   23    Incorporated and Microhits, Incorporated.

   24                 THE COURT:     All right, good morning to you, sir.

   25                 MR. HOLMES:     Thank you.




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    1                 MS. CARPENTER:      Good morning, Your Honor.              Julie

    2    Carpenter on behalf of the MPAA members.               And with me is Paul

    3    Smith, who has been admitted pro hac vice, and he will be

    4    arguing this morning.

    5                 THE COURT:     All right, good morning to each of you.

    6                 All right, there is a series of motions on.                     The

    7    vehicle for getting here was Carpathia's motion to be relieved

    8    of the financial responsibility of continuing to store the data

    9    from Megaupload.       So, why don't we start there.

   10                 I have read your pleadings, and I am sympathetic to

   11    your position.      And I understand you have a board that you want

   12    to use as a demonstrative?

   13                 MR. ZWILLINGER:      That's right, Your Honor.

   14                 THE COURT:     Certainly, go ahead.

   15                 MR. ZWILLINGER:      Your Honor, I thought it would be

   16    helpful to start with just a brief description of the role

   17    Carpathia played as a service provider in this case, and then

   18    to show some pictures of the servers at issue.

   19                 If I can show the other picture first.

   20                 THE COURT:     The other parties have had an opportunity

   21    to look at those?       All right, why don't you--

   22                 MR. ZWILLINGER:      Your Honor, Carpathia is a web

   23    hosting company.       And what we did in this case is we provided

   24    managed hosting services to Megaupload.              That means we provided

   25    the physical server hardware, the physical security.                        We were




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    1    responsible 24/7, 365 days a week to make sure the physical

    2    hardware was working.

    3                 So, with our partner Equinix, we supplied power, we

    4    supplied cooling, we did the connectivity to the other

    5    computers in the data center, we replaced the drives that

    6    failed every day.

    7                 We didn't run or manage the Internet sites.                    We had

    8    no access to the computers at all.            In fact, we just ran the

    9    platform.     And when I say we had no access, it's because when

   10    we set up the servers and gave the default passwords to

   11    Megaupload, they would invariably change the passwords

   12    immediately to control access.           So, we were responsible for the

   13    platform only.

   14                 And at the time up to the point the Government

   15    executed the search warrant, Exhibit A, this picture, is what

   16    the servers looked like.         You're looking at nine servers in a

   17    rack and three racks of servers.           Each one of those servers has

   18    24 hard drives in it.        They are about one-and-a-half terabytes

   19    per hard drive.       Which means there is about 30 to 40 times more

   20    computing power in each one of those servers than a computer

   21    that might be sitting on your desk.

   22                 We have 83 racks of those storage servers, and we had

   23    them in four locations across the United States.                   The majority

   24    of them were in the Equinix data center here in Ashburn,

   25    Virginia.     But we also had servers in LA, Phoenix and Toronto.




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    1                 The out-of-pocket costs of keeping all these servers

    2    powered, cooled and running was running about $9,000 a day.

    3    So, when the Government executed the search warrant in this

    4    case and Mega stopped paying and could no longer be in

    5    business, we needed to get out of our, the data centers.                        And

    6    so, those contracts, which we didn't maintain, ended on

    7    April 6.

    8                 On April 6 we started bringing all the servers to

    9    Harrisonburg, Virginia, which is in the jurisdiction of this

   10    court, and we brought the servers from all over the country,

   11    even though the search warrant pertained only to the ones in

   12    Virginia and Toronto.

   13                 If you look at Exhibit B, Your Honor, this is a

   14    picture of what the servers look like now.                  They are in the

   15    process of all being off-loaded and stacked in Harrisonburg,

   16    Virginia.     You will see that they are stacked eight servers

   17    high.    There are four stacks pictures or five stacks pictured.

   18    So, you have 40 servers there.

   19                 At the end of the day when they finish arriving, we

   20    are going to have 120 stacks of these things in a climate

   21    controlled data center.         It is climate controlled because

   22    without climate control, the hard drives tend to fail.

   23                 So, the servers are all sitting there, and we are

   24    going to have 120 stacks of those, and that would be space that

   25    would be otherwise used for customer servers.




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    1                 Moving for a protective order wasn't our first choice

    2    or first step in this case.          We waited patiently for several

    3    weeks to think that the Government and Mega might work out a

    4    plan for the disposition of the servers.

    5                 Then we tried to talk to the Government about the

    6    Government taking possession of the servers.                  And finally, we

    7    worked out an arrange with Mega so that Mega would take

    8    transfer of the physical servers to unite their interest in the

    9    data that's on them with the physical hardware.

   10                 The Government and the MPAA objected to that

   11    transfer.     And then we felt like we had to turn to the Court.

   12                 It seems to us there are a lot of parties that have

   13    interest in the data on these servers except for one, and

   14    that's us.     We have no interest in the data.

   15                 Our only interest was in the physical hardware.                      And

   16    even that we are willing to loan to any party in this case to

   17    take possession of the physical hardware until the duration of

   18    the proceeding and the hardware can be returned.

   19                 Even before today's hearing, we went to all of the

   20    parties to see if there was something that could be worked out

   21    that we could make a joint recommendation to the Court.                        And it

   22    turns out every party but one agrees that their interests would

   23    be served, in fact better served if the servers were in the

   24    hands of the Government.         The party that doesn't agree, of

   25    course, is the Government.




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    1                 I think the reason that it makes sense for the

    2    Government to have them in these circumstances is the

    3    Government can address each of the parties' interests in known

    4    defined ways.      There is an established procedure in the

    5    criminal law for the defendant to get access to material

    6    evidence under rules of criminal procedure.                 Third parties,

    7    like Mr. Goodwin, can get access through the forfeiture rules,

    8    21 U.S.C. 853(h), if they are innocent owners of the data the

    9    Government has.       And the interests of the copyright holders can

   10    be satisfied because there won't be any further distribution of

   11    what they allege to be infringing material.

   12                 And the Government spends a lot of time explaining in

   13    their briefing why Mega shouldn't be able to force them to take

   14    the servers.      I understand that, but they don't explain why

   15    Carpathia should be forced to take the servers instead.

   16                 In fact, I would like to point out that the

   17    Government's interest in the servers, aside from being way more

   18    that Carpathia's, is that they alleged in the indictment,

   19    paragraph 112, page 82 of the indictment, that they were

   20    entitled to forfeiture of all the copyright infringing

   21    materials that are possessed by Mega.             Those materials are

   22    possessed on the servers.

   23                 So, if all of the infringing materials are subject to

   24    forfeiture of this Court, we think it's another reason why the

   25    Government should be taking possession of them.




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    1                 Two other things, Your Honor, finally.                  The

    2     Government makes some allegation, it is not very specific, but

    3     they believe that there might be some child pornography on

    4     these servers, and that's why we shouldn't be able to transfer

    5     them.   It's not with a lot of specificity so that we can figure

    6     where on these 25 petabytes of data this child porn might

    7     reside.    But if there is contraband on the servers, we

    8     certainly shouldn't remain in possession of them.                    Those should

    9     be turned over to Government.

   10                 And finally, the last minute request that was made

   11     last night from Valcom and Microhits to preserve certain

   12     aspects of the data, specifically the server logs, proves our

   13     point exactly.      I know that is a separate civil matter, but for

   14     us, preservation is all or nothing.            We just preserve the

   15     entirety of the data or preserve no data.

   16                 We can't get access to log in and get the server

   17     logs.   There are only two parties that can do that, Megaupload,

   18     who has the passwords and controlled the data, and the

   19     Government, who in the course of executing the search warrant

   20     found a way to bypass the password protection and do the

   21     imaging they need, we can't do that.             So, asking us to preserve

   22     the server logs is asking us to preserve all 25 petabytes of

   23     data until someone can access it.

   24                 THE COURT:     So, all the hard drives are going to

   25     Harrisonburg, Virginia to storage in a climate controlled




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    1     warehouse.

    2                  How much is that costing?

    3                  MR. ZWILLINGER:      The space, the lease space in that

    4     warehouse that will allocated to the servers will be about

    5     $37,000 a month.

    6                  THE COURT:    $37,000 a month.         All right.

    7                  MR. ZWILLINGER:      And they are not powered or cooled

    8     or running or networked, they are just sitting there awaiting

    9     final disposition.       They are just stacked.

   10                  THE COURT:    Right.     And they are unavailable for

   11     Carpathia to lease to somebody else as well.

   12                  MR. ZWILLINGER:      That's correct.

   13                  THE COURT:    And did Carpathia get notice from the

   14     Government at any time prior to the seizure that they were

   15     storing pirated copyright material and they were subject to any

   16     criminal violations?

   17                  MR. ZWILLINGER:      No, not in that way, Your Honor.

   18     Occasionally in the years of hosting Mega, there would be a

   19     specific instance where the Government would, you know, execute

   20     a, serve a subpoena or execute a search warrant for a small

   21     portion of data.      One was done a year prior by this very

   22     office.

   23                  So, there have been instances in the years of hosting

   24     that somebody had made a specific request for a specific piece

   25     of data, but we had no notice that 1,100 servers, or at least




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    1     in Virginia 500-plus servers would be seized and taken as

    2     criminal violations.

    3                 THE COURT:     In negotiating with Megaupload to

    4     transfer the, what was your understanding of the agreement

    5     between Carpathia and Megaupload to transfer the hard drives?

    6                 MR. ZWILLINGER:       Well, it morphed a little bit over

    7     time.    The agreement we signed involved the full transfer of

    8     all of the 1,100 servers for payment of a million dollars.

    9     There was an additional fee for a continuing to host them until

   10     April 6.    That's obviously passed.          But the sale of the servers

   11     was for a million dollars, which is slightly under their book

   12     value.

   13                 At the time we originally proposed it, there were no

   14     particular restrictions on what Mega was going to do with it,

   15     other than it was for use in the criminal case.                   Subsequent to

   16     that, they offered to make several series of restrictions on

   17     how they would and would not use it, which I could better let

   18     them address if they are allowed to you.               But it was our

   19     understanding that it was going to be used just for use in the

   20     criminal case.

   21                 THE COURT:     Okay.    All right.       Thank you, sir.

   22                 MR. ZWILLINGER:       Thank you, Your Honor.

   23                 THE COURT:     Why don't we lead off with the Government

   24     responding.

   25                 MR. PRABHU:      Thank you, Your Honor.




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    1                  Just so the record is clear, the Government is not

    2     seeking the destruction of the content of the Mega servers at

    3     issue here.     In fact, it was the United States that publicly

    4     notified the Court and any interested parties on January 27,

    5     2012, that the hosting companies were planning on wiping the

    6     content of those servers.         As the Court will recall, I filed a

    7     letter with chambers that was publicly filed.

    8                  If not for the Government's notice at that time, it

    9     is very possible that the companies, including Carpathia, would

   10     have destroyed the data within days of the Government's

   11     searches and the issues today would not be before the Court.

   12                  During the investigation of this case--

   13                  THE COURT:    What's the Government's--              I understand

   14     that.   I promise you, I read the pleadings.                And so, here we

   15     are today.     The Government has done a sampling.                Obviously, the

   16     defendants are very interested in trying to undermine the

   17     legitimacy of the sampling done, and in an attempt to

   18     ultimately free up some assets for use in defending the action.

   19     And I would predict that any Farmer hearing would go that way.

   20                  So, the Government doesn't need the remaining stored

   21     information?

   22                  MR. PRABHU:     That's correct, Your Honor.

   23                  THE COURT:    And they have what they need.                And so,

   24     the issue now is whether it's going to be preserved.

   25                  Megaupload has made an offer.           I don't know where




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    1     they are going to get a million dollars to buy it, but say they

    2     have got a million dollars to buy the hard drives from

    3     Carpathia, what's the Government's objection to that?

    4                  MR. PRABHU:     Well, first of all, Your Honor, the

    5     Government was notified during its discussions with Carpathia

    6     and Mega that a civil preservation demand had already been

    7     served on January 31, 2012, for these exact servers by the

    8     Motion Picture Association.         And we were not notified by those

    9     parties that we were dealing with.            In fact, we heard that from

   10     MPAA directly.

   11                  And once we were told that there was a preservation

   12     request, us being involved in allowing a transfer of allegedly

   13     infringing materials to the infringer, become an unacceptable

   14     situation.

   15                  So, the Government's hands were tied at that point.

   16     We couldn't allow the servers to be transferred, and yet we

   17     were being asked to approve this deal.              And so, we stopped, we

   18     basically stopped negotiating at that point.

   19                  The question of whether they could transfer them is

   20     very complicated, as the Court obviously knows, because, first

   21     of all, it would be putting evidence of a civil matter in the

   22     hands of the defendant.        And in fact, now, as opposed to when

   23     we filled our initial pleadings in this case, there is actually

   24     a civil matter in front of this Court.

   25                  And so, preservation of those materials can be done




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    1     purely in the civil process.         And to be clear, Carpathia is not

    2     a third party that has no interest in this case.                   They are a

    3     potential defendant in other proceedings related to these

    4     servers because, as they just said, they ran these servers for

    5     years.    And it's unclear their level of knowledge, as Valcom

    6     indicates in their filing, and they might be a defendant.

    7                  One thing is clear, Carpathia did make $35 million

    8     plus hosting these servers for Megaupload.                  They got thousands

    9     of notices of infringement from copyright holders.                    And so,

   10     it's not like this was really a surprise.

   11                  Also, with all due respect, they are being a little

   12     bit disingenuous about their ability to access these servers.

   13     They could do exactly what the Government did, which is hire

   14     forensic persons to access the data directly and go around the

   15     passwords.     Megaupload was able to do it.            Carpathia could do

   16     it.

   17                  And so, forcing the Government to step in and take on

   18     responsibility for these servers, would just be a massive

   19     burden on the Government and the taxpayers.

   20                  And in the filings by the different parties in this

   21     case, it shows what would happen.           Mr. Goodwin could, under the

   22     rules, force the Government to go get his files.                   And now he

   23     has that remedy, he could go to Carpathia and say, you have my

   24     property.    If he has a legal claim, he can make that case.                       Or

   25     he could pay them.




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    1                 And the problem with all these solutions is it

    2     presupposes that the Government can do all these things and

    3     Carpathia can't.      That's not the case.

    4                 If they have contractual issues about the data that

    5     they have in their possession, those can be dealt with in civil

    6     litigation, they can be dealt with in negotiation, but they

    7     just want to get out.        And, Your Honor, there is no reason just

    8     because they want to get out, that you have to push the

    9     Government in.

   10                 And frankly, the burden on the Government is much

   11     greater than it is to Carpathia because of the ongoing criminal

   12     case.   If it's in our custody and control, it introduces

   13     petabytes of information that we are going to have to deal with

   14     the defendant on, defendant Megaupload on.

   15                 In every search warrant the Government executes, it

   16     always has to figure out what it can seize reasonably.                       And

   17     that's what happened in this case.            They went into a server

   18     farm and they took some data.

   19                 To require the Government to have responsibility for

   20     all the data, even though it seized a certain amount for its

   21     criminal case, is a burden I just don't see how the Court can

   22     impose on the Government.         And we're not talking a few hundred

   23     thousand dollars.       We are talking tens of millions of dollars

   24     potentially down the road.

   25                 And that's not necessary here.             These servers can be




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    1     preserved in the civil matters, including the one in front of

    2     the Court.     There are, the claims by third parties for need to

    3     access to all this data can be addressed.               If there are

    4     out-of-pocket costs that Carpathia experiences, they can apply

    5     to the Court for some relief.

    6                  So, all those things can be dealt with without

    7     creating this huge burden on the Government to deal with a

    8     massive server farm that it didn't seek to seize.

    9                  THE COURT:    So, what is your overall solution?

   10                  MR. PRABHU:     Your Honor, the Court, because it has

   11     authority over a civil matter involving these servers, can

   12     order them to be preserved and leave them in the possession of

   13     Carpathia.     And then they can apply to the Court for any relief

   14     related to costs.

   15                  And on the cost issue, it's important to note that

   16     Carpathia is not expending new resources for the storage of

   17     these servers.      The only cost to them is the ability to

   18     repurpose the servers.

   19                  Now, that's a contractual issue between them and

   20     Megaupload and potentially the users that could be resolved in

   21     a civil dispute.      That's not something that's in the criminal

   22     case before the Court.

   23                  THE COURT:    Yeah, but Carpathia now has the ability

   24     in the civil context to sell the hard drives to Megaupload.

   25     And the preservation order would carry to Megaupload in the




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    1     civil context, and Carpathia would be out of the, at least out

    2     of the responsibility of preserving and paying for the data in

    3     the hard drives, right?

    4                  MR. PRABHU:     Actually, I don't think so, Your Honor,

    5     because at least one of the potential civil litigants who is

    6     here today has said that they don't believe that the infringed

    7     data should be in the possession of the infringer.                    And so,

    8     it's trusting the thief with the money.

    9                  THE COURT:    Well, every civil case you sue somebody

   10     for infringement of copyrighted material, you know that they

   11     have the copyrighted material.          And so, every case, virtually

   12     every case starts that way.

   13                  MR. PRABHU:     The difference here though, Judge, is

   14     that those parties are before the Court, and here they are not.

   15     They are fighting extradition from various countries--

   16                  THE COURT:    Well, we have got--          Separate for me the

   17     argument--     Because Megaupload is a criminal defendant, a

   18     corporate entity who has not been served with a summons.                        So,

   19     they are kind of hanging out there, and that's an issue that

   20     maybe we need to talk about as well.             But, you know, they are

   21     not fighting extradition, correct?

   22                  MR. PRABHU:     Well, the 68 percent shareholder of the

   23     company and all of the directors are.

   24                  THE COURT:    Right.

   25                  MR. PRABHU:     And so, the question is, is that--                   It's




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    1     not like a public corporation that they would show up.                       It's

    2     seven people who actually don't want to show up.

    3                 So, there is a question of whether that has any

    4     import because it is a majority controlled company.                     And we

    5     point the Court to 28 U.S.C., just so I get the number right,

    6     2466, which talks about the ability of either a defendant, a

    7     personal defendant or a corporate defendant to come in and get

    8     any benefits from the Court.         They are prevented from doing

    9     that if they don't willingly appear.

   10                 But to go back, could Mega, if it had a million

   11     dollars in untainted funds, they would have to deal with the

   12     preservation demand of the Motion Picture Association.                       And to

   13     my knowledge, they have never satisfied the Motion Picture

   14     Association's concerns about the treatment of that data.

   15                 The point of whether there is child pornography on

   16     some of these servers, we've filed under seal some information

   17     related to that.      But it would be a complicating factor--

   18                 THE COURT:     As I understand it, the Government is not

   19     seeking to go back in and look at further data on these

   20     servers, correct?

   21                 MR. PRABHU:      That's correct, Your Honor.

   22                 THE COURT:     All right.

   23                 MR. PRABHU:      Thank you, Your Honor.

   24                 THE COURT:     All right, thank you.            Why don't we have

   25     MPAA and the other third parties that have come in--




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    1                  MR. SMITH:    Thank you, Your Honor.             Paul Smith.

    2                  Your Honor, at this point, as the matters have

    3     evolved, we really have, the movie studios really have only one

    4     primary concern.      Which is that these servers with the data on

    5     them not find their way back into the stream of commerce and

    6     have the Megaupload service reset up.

    7                  As a technology matter, if you could ship these out

    8     of the country to Romania, you could have this whole thing

    9     running again.      It is probably the largest collection of

   10     infringing copies of material in the world.

   11                  And so, it is a matter of great concern to the

   12     studios that they not be dealing with this whole thing all over

   13     again.    Whether or not the right answer is simply to allow

   14     Carpathia to reuse the servers or whether it is to have some

   15     other system to preserve them for use in litigation, is not,

   16     frankly, at this point our primary concern.                 As long as the

   17     Court and the parties can work out an arrangement that they

   18     will be secured and not simply shipped off to Megaupload to

   19     start using them again in their criminal enterprise, that's our

   20     concern.

   21                  We had initially gotten very concerned because we

   22     heard that there was an arrangement simply to sell them to the

   23     principals of Megaupload, not some kind of an evidentiary

   24     process or preservation process, but simply that they would get

   25     them back.     And since many of them are all over the world, it




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    1     didn't seem to us like that was a particularly good way to deal

    2     with stolen goods.

    3                 And so, I don't want to complicate matters except to

    4     make sure that the Court, if it is going to get involved in

    5     addressing the ultimate fate of these things, it ought to make

    6     sure it doesn't do something that risks that the whole criminal

    7     enterprise be restarted in some country where they simply will

    8     be beyond the reach of American legal process.

    9                 THE COURT:     I understand.       Is there no way to catalog

   10     what's in these servers?

   11                 MR. SMITH:     The amount of information is so huge that

   12     it would be an extraordinarily expensive process simply to go

   13     in there and mirror the whole thing or catalog it.                    Of course,

   14     the Government has a fairly large sample, I think it is 1

   15     percent or something that they have taken, but I am not sure

   16     that it would be possible to completely catalog it without a

   17     very huge effort.

   18                 THE COURT:     I mean, this threat of civil litigation

   19     for the copyright infringements, would it not require the

   20     Motion Picture Association to go in there and find infringing

   21     material?

   22                 MR. SMITH:     Well, the Government now, since we got

   23     involved in this, has indicated that they have some thousands

   24     of actual copies of works.         They also have records of every

   25     single work that was on there, so-called hashes, a list of all




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    1     of them, which you can then match up with works out in the

    2     Internet.

    3                 So, given that the Government has indicated they

    4     would almost certainly be subject to a subpoena at an

    5     appropriate point in time from a civil proceeding, our concern

    6     is less about getting access to them or even preserving them

    7     now than it is simply that they be kept secure.

    8                 THE COURT:     Or destroyed.

    9                 MR. SMITH:     Right.     I mean, obviously there is

   10     concerns, as I am sure the next person will talk about,

   11     innocent parties who have private videos up there, but clearly

   12     a vast majority of this stuff is infringing and it should not

   13     be returned either to the people who posted it or to somebody

   14     else who wants to operate another massive criminal enterprise.

   15                 THE COURT:     All right.      But the MPAA is not

   16     interested in taking possession of the hard drives at this

   17     time?

   18                 MR. SMITH:     I am not in a position to make that

   19     offer, Your Honor.

   20                 THE COURT:     All right.      Thank you, sir.

   21                 MS. SMITH:     Thank you.

   22                 THE COURT:     Good morning, Ms. Davis.

   23                 MS. SAMUELS:      Good morning, Your Honor.              Thank you so

   24     much for listening to us today.          Clearly we're talking about an

   25     unprecedented amount of data here.            I think everyone can at




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    1     least agree about that.

    2                 THE COURT:     Yeah.

    3                 MS. SAMUELS:      And we think it's really important that

    4     the Court its exercise its equitable jurisdiction here to make

    5     sure that individuals like our client, Kyle Goodwin, who did

    6     nothing wrong, there is no allegation that Mr. Goodwin did

    7     anything wrong, are able to get their private property back.

    8                 We think this Court is well within its bounds to

    9     exercise that type of jurisdiction.            It exists in the case law,

   10     it exists in the Federal Rules of Criminal Procedure, it exists

   11     in RICO and the other relevant statutory provisions.

   12                 But what I would like to talk briefly about is that

   13     while this is not a traditional taking of our client's

   14     property, it's not a traditional seizure, it's not a

   15     traditional forfeiture, as a practical matter he has got no

   16     access to it, absolutely no way to get his property back.

   17                 And when we start thinking about seizures and

   18     forfeitures and we think about how those existed kind of in the

   19     brick and mortar world, in those cases innocent third parties

   20     can get their stuff back.         They can get into their safety

   21     deposit in the bank that has been seized.               They can get access

   22     to their offices in a building that has been seized.

   23                 But just because we have moved from this analog world

   24     to a digital world, doesn't mean that we should kind of throw

   25     those rights of the innocent third party out--




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    1                 THE COURT:     Who do you think has Mr. Goodwin's

    2     property?

    3                 MS. SAMUELS:      Well, that's an interesting question,

    4     Your Honor.     I think that some combination of a lot of the

    5     parties here today have access to his property.

    6                 I guess physically, they are in Harrisburg, Harris,

    7     Virginia.    Sorry.     Yes, Harrison.      But as I understand from

    8     talking to the parties and from the papers filed before Your

    9     Honor, it's going to require some combination of a bunch of

   10     different parties to actually make that happen.

   11                 Which is why we've proposed some kind of, not short

   12     of a traditional receiver, but some kind of independent expert

   13     who can help come up with a process for these folks.                        And, you

   14     know, frankly, I don't care who has physical custody of the

   15     servers.    I don't object if it's the Government, so long as

   16     there is some process in place with a time deadline, Your

   17     Honor, that creates a way for these folks, Mr. Goodwin and

   18     others like him, to, without having to go through the expense

   19     of civil federal litigation, be able to get notice that they

   20     are able to access their files.          Maybe come up with some kind

   21     of procedural way for them to attest that their files aren't

   22     infringing or otherwise contraband, and we have in place some

   23     independent experts who can help make that happen.

   24                 THE COURT:     Well, with my very basic understanding of

   25     what this system looks like, at this stage it requires the hard




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    1     drives all to be energized, the software systems that operate

    2     them to be energized, and to give the opportunity for the

    3     customers to download whatever they had being stored and

    4     retrieve it.     Is that essentially what we are talking about?

    5                 MS. SAMUELS:      Well, Your Honor, I don't think we're

    6     talking about just flipping a switch back on.                  I don't think

    7     that that is realistic from anyone's perspective at this point.

    8     I think we're talking about some kind of procedure where

    9     perhaps the Government would have to unfreeze some of the more

   10     than $100 million in assets it seized to allow for these

   11     innocent third parties to petition to get their stuff back

   12     without having to go through federal litigation.

   13                 And I think there is some precedent for this.                      We

   14     have seen in the Southern District of New York the online

   15     gambling cases, this was all in our papers, and that was

   16     agreed, you know, the U.S. Attorney agreed to it.                    But in that

   17     case, a monitor was appointed and the defendant funded that.

   18                 And, you know, I would just say that I think a lot of

   19     this chaos, if you will, especially with regard to our client,

   20     was of the Government's making.

   21                 And what I am also concerned about is that we're

   22     seeing more and more of these seizures of Web sites and domain

   23     names, this is happening all the time.              And I think there needs

   24     to be procedures like this from the outset next time so that

   25     this can be handled in an organized fashion.




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    1                  THE COURT:    How do you handle, you start off by

    2     saying there is an incredible amount of data, and then you are

    3     now talking about the Government somehow picking its way

    4     through the data, which would take literally years and years,

    5     and you have got, now you have also, we have just heard from

    6     the MPAA, you know, which believes that there are just

    7     thousands and thousands of pirated copyright material on there.

    8                  MS. SAMUELS:     I don't think, Your Honor, it's the

    9     Government's responsibility to give everyone back their stuff,

   10     the 150 million customers, I don't think that's our position.

   11     I think the position would be to have some kind of process in

   12     place where the owners who, perhaps like Mr. Goodwin, his

   13     external hard drive crashes two days before Megaupload goes

   14     down, someone like Mr. Goodwin can be in a position where he

   15     files some sort of affidavit, some kind of sworn statement,

   16     this is what I have, this is where you can find it, please

   17     return it.     Not just a free-for-all.

   18                  But we have talked to a lot of people to have lost

   19     their data over the course of this, and some of them had

   20     back-ups, some of them cared more about their data than others

   21     for a whole host of different reasons.              And kind of at least

   22     give those folks an opportunity to get their stuff back.

   23                  I think those are very important property rights that

   24     I am hoping that the parties will be able to take into account.

   25                  And I will just like to say one other quick thing.




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    1     And that is, as that process moves forward, one of the reasons

    2     I am particularly glad to be here today is I think it's our

    3     client and those who are similarly situated who face the

    4     biggest risk of being ignored here.            So, I think I am really

    5     glad, I am really happy to have the opportunity to be able to

    6     talk on behalf of him and others like him.

    7                 THE COURT:     All right.      Thank you.

    8                 MS. SAMUELS:      Thank you.

    9                 THE COURT:     All right.

   10                 MR. BRINKMAN:      Your Honor, if you will hear from us,

   11     Mr. Rothken will address this issue.

   12                 THE COURT:     Yes, I will hear from you.

   13                 MR. ROTHKEN:      Thank you, Your Honor.             Ira Rothken.

   14     Thank you for allowing me to speak today.

   15                 THE COURT:     All right.

   16                 MR. ROTHKEN:      I appreciate it.

   17                 THE COURT:     And you are here representing Megaupload,

   18     is that correct?

   19                 MR. ROTHKEN:      We are here, respectfully, if the Court

   20     would allow us in a limited appearance to--

   21                 THE COURT:     I am going to allow you to appear

   22     limited, for purposes of this hearing today on a limited basis.

   23     I won't hold you in the case after today.

   24                 MR. ROTHKEN:      Thank you, Your Honor, we are grateful.

   25                 Your Honor, we have heard from a number of stake




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    1     holders, and Megaupload has listened to all their views.                        And

    2     while Megaupload firmly believes that it's a dual use

    3     technology, that it's capable of substantial noninfringing

    4     uses, and that ultimately it's going to prevail, it certainly

    5     takes into account the pragmatic notion that there needs to be

    6     a compromise.

    7                 And so, after listening to the MPAA, after listening

    8     to Carpathia, after listening to EFF, and after listening to

    9     the United States of America, and with the understanding that

   10     there is a civil litigation pending where there is a need for

   11     litigation hold, it seems like ultimately what should happen

   12     here is that the parties should go back and meet and confer.

   13     And maybe the meet and confer should be with a special master

   14     who could parse out all these different issues, hopefully draw

   15     a Venn diagram and figure out a holistic solution.

   16                 If you take a look at the file, a large number of

   17     these issues were discussed, but they weren't discussed in a

   18     way where there was robust interaction.              These issues were

   19     raised.    I know that, for example, there is an e-mail in the

   20     file where I wrote to the United States Attorney's Office

   21     providing very strict conditions upon which Megaupload would

   22     get the servers back.        In essence, limited to attorney's eyes

   23     only or attorney access with licensed forensic examiners like

   24     KPMG, and we would use it only in the cases with no consumer

   25     access.




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    1                 THE COURT:     KPMG has already been in to look at the

    2     servers at Carpathia, or the portion that the Government had

    3     already seized?

    4                 MR. ROTHKEN:      KPMG, due to their goodwill and due to

    5     some begging by yours truly, decided that they would go ahead

    6     on their dime, $30,000, to fly from California here to Virginia

    7     to go to Carpathia and image two out of over 1,000 servers to

    8     help us in our meet and confer.          And they did that.             I was able

    9     to get the agreement of the United States Attorney's Office to

   10     do that.

   11                 And so, we have analyzed those servers, and that's

   12     helping us somewhat in this process.             And I can go into detail,

   13     Your Honor, if you would like to hear why the rest of the

   14     servers and all of them are highly relevant.

   15                 This is a dual use technology case.                Megaupload does

   16     not believe that it's responsible for users' primary

   17     infringements under the Sony doctrine, under the DMCA, even

   18     under the willfulness standard under criminal law.

   19                 On those servers is evidence of automated processes,

   20     software code and alleged content which would demonstrate, for

   21     example, that files go through that system about 800 files a

   22     second.    And that's the kind of evidence, Your Honor, that is

   23     highly relevant for a jury to hear.            The human eye can't even

   24     perceive 800 files per second.          That would obviously eviscerate

   25     willfulness.




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    1                 That evidence, the software code, the automated

    2     systems, in the indictment there is an allegation related to

    3     picking and choosing the most popular files and putting them on

    4     specially high speed servers.          In the Internet industry, that

    5     is known as caching, c-a-c-h-i-n-g.            The word "caching" does

    6     not appear in the indictment.          Caching is a substantial

    7     noninfringing use.       The evidence of that caching is on those

    8     servers.

    9                 Caching is also covered by DMCA 512(b), and that

   10     would be another basis for the defense.

   11                 But the list goes on and on and on, Your Honor, and

   12     that is all macro evidence.         Micro evidence would include being

   13     able to, for Megaupload to call specific users to the stand to

   14     ask them how they use the services to show that it was a

   15     legitimate cloud storage service.           To ask people like Mr.

   16     Goodwin how he used it.        And to go ahead and pick and choose,

   17     after getting access and after having the funds to be able to

   18     do it, to ask people, did you store Microsoft word documents?

   19     Did people in the military share photos with loved ones back

   20     home?   It's even possible that the Department of Justice used

   21     it, and under that would also show substantial noninfringing

   22     uses.

   23                 So the macro evidence is important, the micro

   24     evidence is important and it's highly relevant.

   25                 In terms of preservation, Your Honor.                 The cost would




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    1     essentially be zero to preserve, and let me explain why.                        This

    2     is a multi--     This is a scaleable process.               The first thing was

    3     that Carpathia and Mega cut a deal through counsel to sell the

    4     servers for approximately $1.25 million, which was the cost of

    5     the servers.     And that would only be payable after the entire

    6     case was over.

    7                 So, essentially, it was a zero sum gain to the

    8     estate.    And that would lead to, essentially, preservation

    9     equals zero at that point.         Then, of course, there is going to

   10     be costs with storing them some place that makes sense so that

   11     they don't degrade, so that folks who ought to get access to

   12     them can.    And there is going to be costs associated with that.

   13                 And then the next part about this, which goes in a

   14     large part to EFF and to a certain part to litigants, is how do

   15     you make these servers so that they go from not reasonably

   16     accessible, which is what the diagram shows, to reasonably

   17     accessible so that they are powered on so you could run

   18     queries, so you could access them.

   19                 THE COURT:     So, this is essentially a contingency

   20     arrangement where if Megaupload or the other defendants are

   21     successful in freeing up money that's been already seized under

   22     the criminal forfeiture statutes, then whoever is preserving

   23     this evidence would be paid for it?

   24                 If, on the other hand, the Government is successful

   25     in its theory of the case where they have had an indictment and




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    1     a superseding indictment, and their seizure theories include

    2     multiple theories where the entire proceeds are forfeitable,

    3     then either the preserver gets held holding the bag or the

    4     Government has to ultimately free up money to pay whoever has

    5     preserved the documents, is that where we are?                  Is that what

    6     you--

    7                 MR. ROTHKEN:      I would have to say generally speaking,

    8     yes.    But any doubts regarding preservation ought to be

    9     resolved in favor of preservation at this point.

   10                 THE COURT:     Who are you proposing be the preserver?

   11                 MR. ROTHKEN:      Your Honor, at this point, given the

   12     diverging views on that, we are willing to meet and confer with

   13     all the stake holders.        I think from Mega's perspective, its

   14     preference under Brady and its progeny would be for the United

   15     States to be the one who maintains and stores these servers.

   16                 But notwithstanding that, what's really going on

   17     here, too, is a tension between an indictment, as Your Honor

   18     mentioned, which is indicting all the revenues from the entire

   19     site, and is breathtaking in scope, which then leads to, the

   20     overbroad indictment leads to a very harsh economic cost on the

   21     e-discovery issues in the case.          The broader the indictment,

   22     the more costly the e-discovery issues.              And that's the honest

   23     tension that is going on right here.

   24                 And meet and confer would certainly, just like one

   25     would have in a civil case on e-discovery, I would suggest to




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    1     the Court that this case is begging for the same type of meet

    2     and confer to happen here where the parties could sit down, get

    3     a sense of what's fair under the circumstances, maybe even

    4     await the results of a Farmer hearing because they may be

    5     intertwined, if money could be freed up, and proceed in a very

    6     cautious, you know, reasoned manner without there being any

    7     kind of harsh destruction.

    8                 Because there would be no way to unring the bell if

    9     the server data is lost.        And given the notion that the cost

   10     for mere preservation even offline is relatively inexpensive,

   11     and given what's at stake in this litigation, I would say to

   12     Your Honor that all things unite to say that the data at least

   13     for now should be preserved.

   14                 We would respectfully request that Your Honor order a

   15     meet and confer with the assistance of a special master.                        We

   16     distill out the remaining issues for the Court.                   And once they

   17     are crystallized, we bring them back when they are ripe so the

   18     Court can actually rule on discrete issues.

   19                 THE COURT:     All right.

   20                 MR. ROTHKEN:      Thank you.

   21                 THE COURT:     Thank you.      Yes, sir.

   22                 MR. HOLMES:      If I may heard just very briefly.

   23                 THE COURT:     Yes.

   24                 MR. HOLMES:      I do appreciate it, Your Honor.                  Again,

   25     Cliff Holmes on behalf of Microhits and co-plaintiff Valcom,




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    1     Incorporated.

    2                 We are late to this proceeding, Your Honor.                     We

    3     received notice of the emergency motion on April 6, and then

    4     were successful in retaining a data forensic expert yesterday

    5     and made our filing end of day yesterday, Your Honor.

    6                 We filed our civil complaint March 21.                  It alleges

    7     contributory copyright infringement, inducement of copyright

    8     infringe, and unfair competition.           The status of that case is

    9     that we've served one defendant, and we are waiting for the

   10     proof of service to come back from Hong Kong.

   11                 We have an understanding that a second defendant

   12     agreed to be served yesterday, and similarly we will await the

   13     proof of service on that.

   14                 So, that case is just in the beginning stages.

   15                 What we submitted yesterday, Your Honor, was an

   16     affidavit from our expert, Stevens Miller.                  And where we were

   17     coming at this was that we were hopeful that regardless of the

   18     outcome of today's proceedings, is that we could reach an

   19     assurance that at a minimum what is referred to as the server

   20     log, which again is described in the affidavit, stores the

   21     names and dates of access to material on the servers, could be

   22     retained.

   23                 Now we understand that it is a somewhat more vexing

   24     issue in the sense that as Carpathia represented, apparently

   25     one has to go into the servers to attain a server log, at least




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    1     with respect to Megaupload data.

    2                 Again, with my own incipient understanding, being

    3     informed by discussions with our expert yesterday, sounds to me

    4     as though it may be a deviation from the industry norm.                        We

    5     understand that there are typically server logs maintained

    6     independently.      So, we are disappointed to hear that, but it is

    7     what it is.

    8                 We are certainly most open to any solution Your Honor

    9     should devise, although we do respectfully put forth that

   10     destruction as of today would be precipitous and would

   11     potentially compromise the civil plaintiffs' interests in the

   12     separate case.

   13                 THE COURT:     All right.      But your parties aren't

   14     interested in taking custody of the data as well?

   15                 MR. HOLMES:      That's the question of the day, Your

   16     Honor.    As others have similarly articulated, we are not in a

   17     position to take possession at this juncture.

   18                 THE COURT:     All right, thank you.

   19                 MR. HOLMES:      All right.     Thank you, Your Honor.

   20                 MR. ZWILLINGER:       May I reply very briefly?

   21                 THE COURT:     Yes, sir.

   22                 MR. ZWILLINGER:       Just a couple of things that the

   23     Government said I wanted to comment on.

   24                 The first was that they didn't seek to seize all

   25     these servers.      The search warrant is under seal, but it has




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    1     been alluded to, but they went before this very Court and asked

    2     for authority to seize all servers leased by Megaupload in this

    3     case.   And they chose not to exercise it, they came up with

    4     some other plan, but that is what they represented to the Court

    5     that they wanted authority to do.

    6                 The second thing is that for the very reason the

    7     Government doesn't want it, it shows how unfair the burden is

    8     to place on Carpathia.        We are not a party to this proceeding.

    9     The Government says it is tens of million of dollars and that

   10     we can apply to the Court for relief.             We just did, we have

   11     applied to the Court for relief, and we ask that the Court find

   12     a way to get us out of it.

   13                 The meet and confer suggested by Mr. Rothken, we have

   14     met and conferred with everybody, and the Government said they

   15     stopped being willing to talk about it once the MPAA filed a

   16     preservation letter.       But we heard from the MPAA today that

   17     their only concern is that it doesn't go back into the wild.

   18     They don't actually seek preservation anymore, they say they

   19     take no position with regard to destruction.

   20                 So, it doesn't seem like the MPAA's interest is a

   21     reason to stop talking.

   22                 The final thing I just want to point out to the Court

   23     is that we can't put Humpty Dumpty back together again in that

   24     data center in Harrisonburg.         We don't have the networking

   25     equipment, we don't have the ability.             This was in four data




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    1     centers across the country for a reason.

    2                 The servers are sitting there, but if they are going

    3     to be energized, was the word, or allowed, only Mega can know

    4     which servers to look at to find the stuff.                 And Mega has been

    5     very clear that they are willing to take it, they are willing

    6     to take the servers and we are willing to forgo any payment

    7     from them, at least until after the proceeding is over, or we

    8     will just lend them servers for free if they promise to return

    9     them when the case is over.

   10                 So, we don't need any payment to give it to Mega.

   11     And I would ask that the Court fashion a remedy that either the

   12     Government or Mega, the two parties to the case, take it with

   13     whatever restrictions the Court believes are appropriate.

   14                 THE COURT:     Okay.    The server logs, you don't have

   15     access to them, is that your position?

   16                 MR. ZWILLINGER:       That's right, Your Honor.                 It

   17     requires logical access to the data that is on the drives to

   18     pull the logs out.       I believe Mega would be able to access the

   19     server logs.     I believe the Government might be as well.

   20                 THE COURT:     But not in the present form of the hard

   21     drives?

   22                 MR. ZWILLINGER:       They would have to be plugged in

   23     and--   The hard drives can be staged, each server can be staged

   24     in Harrisonburg on a one-server-at-a-time basis, plug in a

   25     server, higher a forensic consultant, pull the server logs out.




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    1                 I don't think the Government was quite necessarily

    2     accurate that we could just do it because they did it, they

    3     knew the passwords.       The Government's forensic experts must

    4     have found a way to do it, but that would require an additional

    5     cost.   We can't just do it, pull the server logs out, we can't

    6     access the data ourselves.

    7                 THE COURT:     All right.      Thank you.

    8                 All right.     Well, I think the meet and confer is a

    9     great idea.     And I am sure that the Government will participate

   10     in the meet and confer and see if we can't work something out.

   11                 Judge Anderson is terrific at getting people to come

   12     together and solve problems.         He does it on a daily basis.                  And

   13     I am going to have you call Judge Anderson and see when you can

   14     get in to see him.

   15                 If you want to pay a special master, because I am not

   16     going to pay one, but you have got Walt Kelley sitting in the

   17     middle of the courtroom here who does that on a fairly regular

   18     basis for a handsome sum of money, and he looks tanned and

   19     rested and ready.       So, if Judge Anderson isn't the answer, then

   20     I invite you to get a special master of your own choice.

   21                 Let's do that within the next two weeks and get your

   22     calendars together.       I realize you probably all have electronic

   23     calendars, and none of them found their way into the courtroom,

   24     courthouse, but let's get together and see if you can't work it

   25     out.




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    1                  If not, let me know and I will make a decision, and

    2     we will go from there.        That's as far as I think we are going

    3     to go today in hearing any of the issues before me.

    4                  The appearance for a Farmer hearing, I am going to

    5     put off for now.      I have got a couple issues, and I think there

    6     is further briefing that is going to be necessary on that

    7     because Megaupload is a separate entity and they haven't been

    8     served.    And I have some, obviously some reservations in using

    9     my resources, but also the Government resources at this stage.

   10     As long as evidence is not being destroyed, I frankly don't

   11     know that we are ever going to have a trial in this matter.

   12     And the beginning, getting the train rolling down the hill at

   13     this stage, I think is premature unless I am convinced

   14     otherwise.     But we will save that for another day.

   15                  All right.    All right.      Thank you all.           I appreciate

   16     the briefing.      And you see how far you can get, and hopefully I

   17     will get a good report.

   18                  Have a good weekend everybody.            Thank you.

   19            ------------------------------------------------
                                   HEARING CONCLUDED
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   21
                             I certify that the foregoing is a true and
   22
                accurate transcription of my stenographic notes.
   23

   24
                                       /s/ Norman B. Linnell
   25                               Norman B. Linnell, RPR, CM, VCE, FCRR




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